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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                                          8
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                                                                         10   TIMOTHY CRAYTON,                                      No. C 08-00621 WHA

                                                                         11                 Plaintiff,
United States District Court




                                                                                v.
                               For the Northern District of California




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                                                                         13   CORRECTIONAL OFFICER                                  ORDER DISMISSING ACTION
                                                                              A. HEDGEPETH, et al.,
                                                                         14                 Defendants.
                                                                         15                                             /

                                                                         16          This action settled in January 2014. The settlement agreement stated:
                                                                         17                 Plaintiff agrees to dismiss all the claims in the Complaint with
                                                                         18                 prejudice, including Plaintiff’s claims that were previously
                                                                                            dismissed from this matter without prejudice. Plaintiff further
                                                                         19                 agrees not to appeal any Orders issued in this matter.

                                                                         20   (Dkt. No. 283). Plaintiff’s counsel have confirmed receipt of the settlement check

                                                                         21   (Dkt. No. 301). Accordingly, all claims are DISMISSED WITH PREJUDICE. This action is

                                                                         22   terminated. The Court thanks Attorneys Jeffrey L. Bornstein and Claudia A. Quiroz for taking

                                                                         23   on this matter pro bono. The Clerk shall CLOSE THE FILE.

                                                                         24
                                                                         25          IT IS SO ORDERED.

                                                                         26
                                                                         27   Dated: June 30, 2014.
                                                                                                                                 WILLIAM ALSUP
                                                                         28                                                      UNITED STATES DISTRICT JUDGE
